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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
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10          UNITED STATES OF AMERICA,                     CASE NO. C12-1282JLR

11                               Plaintiff,               MINUTE ORDER
                   v.
12
            CITY OF SEATTLE,
13
                                 Defendant.
14

15          The following minute order is made by the direction of the court, the Honorable

16   James L. Robart:

17          In accordance with Paragraph 17 of its September 7, 2023 order granting in part

18   and denying in part the City of Seattle and the Department of Justice’s joint motion to

19   approve their proposed agreement on sustained compliance (Dkt. # 769), the court sets a

20   hearing on October 16, 2024, at 10:00 a.m. The court will specify the courtroom where

21   the hearing will be held and provide the topics to be covered in a future order.

22   //


     MINUTE ORDER - 1
           Case 2:12-cv-01282-JLR Document 799 Filed 08/23/24 Page 2 of 2




 1        Filed and entered this 23rd day of August, 2024.

 2
                                             RAVI SUBRAMANIAN
 3                                           Clerk of Court

 4                                            s/ Ashleigh Drecktrah
                                              Deputy Clerk
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     MINUTE ORDER - 2
